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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
HAIN CAPITAL INVESTORS MASTER FUND, LTD.,

Case No. 20-cv-2090
Plaintiff,

-against- DECLARATION OF
CELESTE INGALLS

RIO SUL S.A. DEC.V.,

Defendant.

 

x

I declare that I, Celeste Ingalls, am a citizen of the United States, over the age of twenty-one,
not a party nor an attorney for any party in this action, and state the following:

1 I am employed by Alan H. Crowe & Associates, Inc. dba Crowe Foreign Services,
1020 SW Taylor Street, Suite 240, Portland, Oregon, and have specialized in the service of civil
process in foreign countries for more than 24 years.

2; The United States and Mexico are signatories to the Convention on the Service
Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters, done at the
Hague, November 15, 1965, (Hague Service Convention).

3. I have lectured to state/county bar, and other professional, associations on the
mechanics and requirements of process service in foreign countries.

4. Since 2003, I have attended, at special invitation as a private expert, all Special
Administrative Sessions of the Hague Conference in The Hague, Netherlands, at which each
signatory country was represented by their respective Judicial Authorities to discuss the practical

mechanics of, and problems encountered in dealing with, the Hague Service Convention and the
Hague Evidence Convention as they apply to each country’s laws and interpretations of the

Convention and its obligations.

 

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5. I have participated (at invitation) with the Hague Administration in a “training”
session with the Mexico Ministry of Justice, presided over by the Hague Administration and
attended by top level Mexican Federal and State judges, to provide guidance to Mexico’s judicial
system regarding their practical obligations with respect to service under the provisions of the
Hague Service Convention. At this session, it was agreed by the Hague Administration that each
signatory country has the discretion to interpret the Convention articles in a way that conforms to
their internal law.

6. Mexico declared at its accession to the Convention, that it formally objects to any
method of service outside formal protocols (through the designated Central Authority) and that
service must be made in accordance with one of the applicable international agreements (which
includes the Hague Service Convention). Therefore, the Hague Service Convention is a mandatory
method of service when applicable.

a, The Ministry of Foreign Affairs (S.R.E.) in Mexico City, Mexico has been
designated as the only entity authorized (Central Authority) to receive and effect service of judicial
documents from US Courts in accordance with the Hague Service Convention.

8. Under Mexican law, the Mexican authorities require Spanish translation of all
documents being served if service is to be compulsory and not voluntary on the part of the
defendant.

9. An Order Appointing International Process Server, which provides authority for an
individual to request service in accordance with the Hague Service Convention, is required by the
Mexico judicial authorities. After execution by the Judge, the Order was translated to accompany

the documents to be served.

 

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10. On May 18, 2020, I forwarded the Order Appointing International Process Server,
Summons in a Civil Action, Civil Cover Sheet, and Complaint, with requisite Spanish translations
thereof, in the above titled case, to the Central Authority for Mexico to be served upon Rio Sul S.A.
de C.V. in accordance with the Hague Service Convention.

11. No signatory nation is obligated under the Hague Service Convention to provide
status with respect to service of documents in its possession.

12, The Hague Service Convention does not impose an obligatory time frame.

13. Recently, services times have increased with service and return of proof
documentation taking an average of 8 to 10 months (some that take much longer) from the time the
documents are received by the Central Authority for Mexico. However, it should be noted that the
current Covid-19 restrictions and closures may cause the Central Authority to temporarily limit or
delay the services they can provide. Therefore, at this time an estimate of how long the above
service will actually take cannot be calculated.

I declare, under penalty of perjury under the laws of the United States, that the foregoing is
true and correct.

Done this 4" day of June 2020 at Portland, Oregon.

 

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